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IN THE UNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEEOS AUG 15
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MARY ANN LAZAR,
Plaintiff,
vs. Civ. No. O3-2868-B[P

EZPAWN TENNESSEE, INC.,

Defendant.

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ORDER GRANTING DEFENDANT'S MOTION FOR LEAVE OF COURT TO FILE
REPLY BRIEF TO PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION TO
AMEND SCHEDULING ORDER

 

Before the court is defendant's Motion for Leave of Court to
File Reply Brief to Plaintiff’e Response to Defendant'e Motion to
Amend Scheduling Order, filed Auguet 2, 2005 (dkt #34). For good
cause Shown, defendant'e motion to file reply brief to plaintiff'e
Motion to Amend Scheduling Order is GRANTED.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date U

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
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Honorable J. Breen
US DISTRICT COURT

